Case 3:19-cv-04753-AET-TJB
        Case 1:18-cv-00637-RP
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

DEFENSE DISTRIBUTED and                            §
SECOND AMENDMENT                                   §
FOUNDATION, INC.,                                  §
                                                   §
               Plaintiffs,                         §
                                                   §
v.                                                 §                   1:18-CV-637-RP
                                                   §
ANDREW J. BRUCK, Acting Attorney General           §
of New Jersey, in his official and individual      §
capacities, et al.,                                §
                                                   §
               Defendants.                         §

                                                ORDER

       Before the Court is the Judgment and Mandate of the United States Court of Appeals for the

Fifth Circuit remanding Plaintiffs’ Notice of Appeal, (Dkt. 146). (Judgment, Dkt. 171).

       Pursuant to the Fifth Circuit Judgment, IT IS ORDERED that the Court’s April 19, 2021,

Order, (Dkt. 145), severing Defense Distributed’s claims against the New Jersey Attorney General

and transferring them to the United States District Court for the District of New Jersey, is

VACATED.

       Additionally, pursuant to the Fifth Circuit’s Judgment, the Court requests the District of

New Jersey to return the transferred case to the Western District of Texas, Austin Division, to be

reconsolidated with this matter.

       SIGNED on April 13, 2022.




                                                    _____________________________________
                                                    ROBERT PITMAN
                                                    UNITED STATES DISTRICT JUDGE
